Case 8:24-cv-00113-JWH-DFM     Document 49   Filed 01/06/25   Page 1 of 2 Page ID
                                    #:330



   1                                                                       JS-6
   2
   3
   4
   5
   6
   7
   8                    UNITED STATES DISTRICT COURT
   9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   AMERIS BANK doing business as            Case No. 8:24-cv-00113-JWH-DFM
         BALBOA CAPITAL,
  12
                  Plaintiff,                    JUDGMENT
  13
            v.
  14
       GANESH HOSPITALITY LLC and
  15   KONILKUMAR PATEL,
  16              Defendants.
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
Case 8:24-cv-00113-JWH-DFM   Document 49   Filed 01/06/25   Page 2 of 2 Page ID
                                  #:331
